Case 2:20-cv-00281-JRG Document 434 Filed 11/22/21 Page 1 of 2 PageID #: 23875




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

KAIFI LLC,                                     §
                                               §
                Plaintiff,                     §
                                               §
v.                                                  CIVIL ACTION NO. 2:20-CV-00281-JRG
                                               §
T-MOBILE US, INC., and T-MOBILE
                                               §
USA, INC.,                                     §
                                               §
              Defendants.                      §

                MINUTES FOR INITIAL PRETRIAL CONFERENCE DAY 3
               HELD BEFORE U.S. DISTRICT JUDGE RODNEY GILSTRAP
                                 November 22, 2021

OPEN:   09:44 AM                                                        ADJOURN: 11:44 AM

ATTORNEYS FOR PLAINTIFF:                           See attached

ATTORNEYS FOR DEFENDANTS:                          See attached

LAW CLERKS:                                        Tom Derbish
                                                   Cason Cole
                                                   Cody Carter

COURT REPORTER:                                    Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                  Andrea Brunson, CP

 TIME         MINUTES
 09:44 AM     Court opened.
 09:45 AM     Court proceeded with Day 3 of pretrial.
 09:45 AM     Court called for announcements from counsel.
 09:46 AM     Today’s pretrial covered disputes re: exhibits to be pre-admitted. First, Court took
              up previously carried Dkt. No. 232. Follow-up letter briefing was received by the
              Court re: Dkt. No. 232. Court made inquiry with Plaintiff and requested additional
              clarification. Mr. Sheasby for the Plaintiff provided response thereto. Court will
              continue to review Dkt. No. 232 and guidance will be forthcoming.
 09:49 AM     Court addressed previously carried Plaintiff MIL #14. Additional briefing was
              received by the Court. Court’s ruling: GRANTED re: Salberg reference with
              additional explanation as set forth in the record.
 09:55 AM     Court heard the following arguments re: objections to exhibits. Court recognized
              parties’ meet and confer efforts re: disputed exhibits.
 09:56 AM     PX Group 1: Argument presented.
Case 2:20-cv-00281-JRG Document 434 Filed 11/22/21 Page 2 of 2 PageID #: 23876




 10:06 AM    Court: Pre-admitted and overruled Defendants’ objection with additional
             instructions as set forth in the record.
 10:07 AM    PX Group 2: Argument presented.
 10:11 AM    Court: Sustained Defendants’ objection and excluded PX Group 2.
 10:12 AM    PX Group 3 – Disputes resolved and objections withdrawn by Defendants. Court
             pre-admitted.
 10:12 AM    PX Group 4: Argument presented.
 10:13 AM    Court: Pre-admitted.
 10:13 AM    PX Group 5: Argument presented.
 10:19 AM    Court: Pre-admitted that portion identified in the record re: representative exhibit
             PX1201. Court excluded remaining documents.
 10:21 AM    DX Group 3: Argument presented.
 10:33 AM    Court: Pre-admitted DX 660 and DX 799. Court sustained Plaintiff’s objection to
             the remainder of the exhibits in DX Group 3.
 10:35 AM    DX Group 4: Argument presented.
 10:38 AM    Court: Sustained Plaintiff’s objection and excluded DX Group 4 as pre-admitted
             exhibits and provided additional instruction.
 10:39 AM    DX Group 6: All exhibits withdrawn except DX 295. Court pre-admitted DX 295.
 10:40 AM    DX Group 11: Argument presented.
 10:47 AM    Court: Did not pre-admit as exhibits.
 10:48 AM    DX Group 18: Disputes resolved and objections withdrawn by Plaintiff.
 10:48 AM    DX Group 19: Argument presented.
 10:52 AM    Court: Pre-admitted DX 95, DX 820 and DX 821. Court excluded DX 824.
 10:53 AM    DX Groups 20, 23, 24 and 25: Argument presented.
 11:00 AM    Court: Excluded all exhibits in DX Groups 20, 23, 24 and 25 and provided
             instructions as set forth in the record.
 11:05 AM    PX Group 3: Notwithstanding parties’ previous agreement, PX Group 3 to be used
             as demonstratives only and not pre-admitted.
 11:06 AM    DX Group 26: Exhibits withdrawn by Defendants.
 11:07 AM    DX Group 27: Exhibits withdrawn by Defendants.
 11:07 AM    Additional matters brought to the attention of the Court by the parties.
 11:16 AM    Court made inquiry with counsel re: the use of an interpreter during presentment of
             live testimony of any witness.
 11:19 AM    Court instructed the parties to file a notice re: use of an interpreter.
 11:25 AM    Court addressed the recently filed motions for leave to supplement expert reports,
             i.e., Ms. Davis, Mr. Conte and Mr. Kennedy. Court ordered each side to file letter
             briefs not more than six (6) pages by noon on Monday, November 29, 2021.
             Thereafter, Court will review and issue rulings. The motion re: Mr. Proctor will not
             be included.
 11:33 AM    Court instructed Plaintiff to advise Defendants by noon on Monday, November 29
             re: live witness list. Court instructed Defendants to advise Plaintiff by noon on
             Tuesday, November 30 re: live witness list.
 11:39 AM    Court instructed parties to meet and confer and submit a finalized list of pre-
             admitted exhibits in advance of trial to the Courtroom Deputy.
 11:44 AM    Pretrial process concluded.
 11:44 AM    Court adjourned.
